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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                      MDL NO 2924
   PRODUCTS LIABILITY                                                               20-MD-2924
   LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART
   __________________________________/

   THIS DOCUMENT RELATES TO:
   RICHARD SPRAGUE, INDIVIDUALLY
   AND AS REPRESENTATIVE OF THE
   ESTATE OF BRENDA SPRAGUE, DECEASED
   CASE NO. 9:20-cv-80613

    Richard Sprague, individually and
    as representative of the estate of
    Brenda Sprague, Plaintiff

           v.

    Sanofi S.A.,
    Sanofi US Services, Inc.,
    Sanofi-Aventis U.S. LLC,
    Boehringer Ingelheim Pharmaceuticals, Inc.,
    Boehringer Ingelheim International GMBH,                Notice of Appeal
    Boehringer Ingelheim Corporation,
    Boehringer Ingelheim USA Corporation,
    Glaxosmithkline LLC,
    Glaxosmithkline (America) Inc.,
    Glaxosmithkline PLC,
    Apotex, Inc.,
    Apotex Corp.,
    Dr. Reddy’s Laboratories, Inc.,
    Dr. Reddy’s Laboratories, Ltd.,
    Dr. Reddy’s Laboratories, SA
    Walgreen Co.,

          Notice is hereby given that Richard Sprague, plaintiff in the above named case, hereby
   appeals to the United States Court of Appeals for the Eleventh Circuit from D.E. 2532, 2512, and
   2513, Orders granting Defendants’ Motions to Dismiss on preemption grounds, the last of which
   was entered in this action on the 8th day of January, 2021.




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          These Orders were made final with respect to Plaintiff Richard Sprague on the 27th day of
   January, 2021, when Plaintiff amended his Short Form Complaint to eliminate all claims for which
   repleading was permitted by the Court’s Orders.
    DATED: January 27, 2021.                          Respectfully submitted,
                                                      /s/Ashley Keller
                                                      Ashley Keller
                                                      KELLER LENKNER LLC
                                                      150 N. Riverside Plaza, Suite 4270
                                                      Chicago, IL 60606
                                                      Tel: (312) 741-5220

                                                      Counsel for Plaintiff–Appellant




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 27, 2021, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF and that the foregoing document is being served on all

   counsel of record or parties registered to receive CM/ECF Electronic Filings.


                                                               /s/Ashley Keller
                                                              Ashley Keller




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